   Case 4:22-cv-05502-DMR Document 143-45 Filed 07/06/23 Page 1 of 5



                             EXHIBIT U
                                 TO
    DECLARATION OF SOPHIA GARCIA IN SUPPORT OF SAN
FRANCISCO’S OPPOSITION TO PLAINTIFFS’ MOTION TO ENFORCE
              THE PRELIMINARY INJUNCTION
        Case 4:22-cv-05502-DMR Document 143-45 Filed 07/06/23 Page 2 of 5


From:            Fong, Winnie (CAT)
To:              "edellapiana@lccr.com"; "zshroff@lccrsf.org"; "hrood@lccrsf.org"; "bgreene@aclunc.org"; "jdo@aclunc.org";
                 "joseph.lee@lw.com"; "wesley.tiu@lw.com"; "al.pfeiffer@lw.com"; "kevin.wu@lw.com"; "tulin.gurer@lw.com";
                 "rachel.mitchell@lw.com"
Cc:              Snodgrass, Wayne (CAT); Emery, Jim (CAT); Stevens, Ryan (CAT); Murphy, Kaitlyn (CAT); Gradilla, Miguel
                 (CAT); Garcia, Sophia (CAT); Andrew, Rhonda (CAT)
Subject:         Coalition on Homelessness - Defendants" Document Production (passcode)
Date:            Friday, March 3, 2023 3:43:05 PM


Dear Counsel:

You will be receiving an email from CCSF SFTP NO-Reply with a link to Defendants’
document production, Bates-numbered CCSF-COH_000001 – 003133.

Instructions for download

1.         For best results, please use Microsoft Edge internet browser. FTP does not work well
with Chrome.
2.         Open CCSF SFTP No-Reply email and click on Workspace link to download the
file.
3.         Enter the Passcode 419548 and click Submit.
4.         Click on the file to download.

Please note the link will expire on March 10, 2023. If you do not receive the link, or if you
have difficulty downloading the files, please contact me.

Thank you.


Winnie Fong
Paralegal
Office of City Attorney David Chiu
(415) 554-4215 Direct
www.sfcityattorney.org

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      Case 4:22-cv-05502-DMR Document 143-45 Filed 07/06/23 Page 3 of 5


From:           CCSF SFTP NO-Reply
To:             winnie.fong@sfgov.org
Subject:        Coalition on Homelessness - Defendants" Document Production
Date:           Friday, March 3, 2023 3:42:55 PM




To: edellapiana@lccr.com, zshroff@lccrsf.org, hrood@lccrsf.org, bgreene@aclunc.org,
jdo@aclunc.org, joseph.lee@lw.com, wesley.tiu@lw.com, al.pfeiffer@lw.com,
kevin.wu@lw.com, tulin.gurer@lw.com, rachel.mitchell@lw.com
CC: Wayne.Snodgrass@sfcityatty.org, Jim.Emery@sfcityatty.org,
Ryan.Stevens@sfcityatty.org, Kaitlyn.Murphy@sfcityatty.org,
Miguel.Gradilla@sfcityatty.org, Sophia.Garcia@sfcityatty.org,
Rhonda.Andrew@sfcityatty.org, winnie.fong@sfgov.org

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City & County of San Francisco
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Please see attached zip file with Defendants’ document production. A passcode will be sent by
separate email.

Thank you.

Winnie Fong (she/her)
     Case 4:22-cv-05502-DMR Document 143-45 Filed 07/06/23 Page 4 of 5


Paralegal
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      Case 4:22-cv-05502-DMR Document 143-45 Filed 07/06/23 Page 5 of 5


From:               CCSF SFTP NO-Reply
To:                 Fong, Winnie (CAT)
Subject:            File Action Notification
Date:               Friday, March 3, 2023 4:00:43 PM




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SFSecureShare Notification:

Coalition on Homelessness - Defendants' Document Production (winnie.fong@sfcityatty.org): CCSF-COH_000001
- 003133.zip was downloaded by wesley.tiu@lw.com (anonymously) from 209.120.187.67 on 3/3/2023 at 4:00:33
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